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             IN THE COURT OF CRIMINAL APPEALS OF THE STATE OF OKLAHOMA

                                                               No. C-2016-419
 Kenneth Harold Tibbetts,                                      (Certiorari)
    Appellant,
 v.                                                            Filed: 05/20/2016
 STATE OF OKLAHOMA,                                            Closed: 09/14/2017
    Appellee,
                                                               Appealed from: BECKHAM County District Court


PARTIES
STATE OF OKLAHOMA, Appellee
Tibbetts, Kenneth Harold, Appellant



ATTORNEYS
Attorney                                                      Represented Parties
Attorney General Of Oklahoma                                  STATE OF OKLAHOMA



Beckham County District Attorney
P.O. Box 507
Sayre


Danner, Cindy                                                 Tibbetts Kenneth Harold



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                                                                                               EXHIBIT 13
 Attorney              Case 5:23-cv-00913-J Document 14-13  Filed 12/29/23
                                                      Represented Parties  Page 2 of 5
 Sorelle, Alicia
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 ELK CITY, OK 73648


 Yohn, Richard L. (Bar #14911)
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 Woodward, OK 73801



 EVENTS
 None


 LOWER COURT COUNTS AND OTHER INFORMATION
 Count      Case Number          Statute   Crime   Sentence   Judge                      Reporter
 -          CF-2015-188          -                            Haught, Floyd Douglas      Riley, Darla J


 DOCKET
mount
 Date         Code     Description
 05-11-2016 [ DOOA ]
     DATE OF ORDER APPEALED
 05-20-2016 [ TEXT ]
     ISSUED CERTIFICATE OF APPEAL
 05-20-2016 [ NTIA ]
     NOTICE OF INTENT TO APPEAL
     Document Unavailable (#1033320593)
 05-20-2016 [ DSRC ]
     DESIGNATION OF RECORD
     Document Unavailable (#1033320593)
 05-20-2016 [ CASE ]
     CERTIORARI INITIAL FILING
 05-20-2016 [ PAY ]
     RECEIPT # 66305 ON 05/20/2016.
     PAYOR: RICHARD L. YOHN TOTAL AMOUNT PAID: $ 0.00.
     LINE ITEMS:
     $0.00 ON CERTIORARI INITIAL FILING.
 05-25-2016 [ TEXT ]
     APLNTS NOTICE OF ASSIGNMENT VIRGINIA SANDERS
     Document Available (#1033320711) TIFF PDF
05-25-2016 [ TEXT ] Case 5:23-cv-00913-J Document 14-13 Filed 12/29/23 Page 3 of 5
    APLNTS SUPPLEMENTAL DESIGNATION OF RECORD
    Document Available (#1033320707) TIFF PDF
06-06-2016 [ TEXT ]
    APLNTS AMENDMENT TO SUPPLEMENTAL DESIGNATION OF RECORD WITH PROOF OF SERVICE ON COURT
    REPORTER & THE DRUG COURT COORDINATOR
    Document Available (#1033320996) TIFF PDF
06-28-2016 [ PETF ]
    PETITION FOR WRIT OF CERTIORARI
    Document Available (#1033319562) TIFF   PDF
07-11-2016 [ TEXT ]
    NOTICE OF FILING - DARLA RILEY, CSR
    Document Available (#1033317882) TIFF   PDF
07-22-2016 [ NTCP ]
    NOTICE OF COMPLETION OF RECORD FOR APPEALS FROM DISTRICT COURT
    Document Available (#1033319929) TIFF PDF
07-22-2016 [ RODC ]
    RECORD ORDERED FROM DISTRICT COURT
    Document Available (#1033319941) TIFF PDF
07-28-2016 [ TEXT ]
    APLNTS NOTICE OF RE-ASSIGNMENT-CHAD JOHNSON
    Document Available (#1033320075) TIFF PDF
08-01-2016 [ ORGR ]
    ORIGINAL RECORD - 196 PAGES (COPY TO AG)
08-01-2016 [ TRAN ]
    TRANSCRIPT - 2/10/16 - 15 PAGES (COPY TO AG)
08-01-2016 [ TRAN ]
    TRANSCRIPT - 3/30/16 - 181 PAGES; ATTACHED EXHIBTS (COPY TO AG)
08-01-2016 [ TRAN ]
    TRANSCRIPT - 5/11/16 - 14 PAGES (COPY TO AG)
08-19-2016 [ TEXT ]
    APLNTS REQUEST FOR EXTENSION OF TIME TO FILE BRIEF
    Document Unavailable (#1033915718)
08-25-2016 [ XATBC ]
    JE: ORDER - SMITH, PJ; APLNT'S REQUEST FOR A FIRST EXTENSION OF TIME TO FILE THE BRIEF IN CHIEF
    GRANTED. NEW DUE DATE: SEPTEMBER 20, 2016. N/ATTYS
    Document Available (#1033914935) TIFF PDF
09-20-2016 [ TEXT ]
    APLNTS REQUEST FOR EXTENSION OF TIME TO FILE BRIEF
    Document Available (#1034510642) TIFF PDF
09-22-2016 [ XATBC Case
                   ]    5:23-cv-00913-J Document 14-13 Filed 12/29/23 Page 4 of 5
    JE: ORDER - SMITH, PJ; APLNT'S REQ FOR A SECOND EXT OF TIME TO FILE BRIEF IN CHIEF GRANTED AS A
    FINAL EXT. NEW DUE DATE: OCTOBER 20, 2016. N/ATTYS
    Document Available (#1033915173) TIFF PDF
10-10-2016 [ ATBC ]
    BRIEF OF PETITIONER
    Document Available (#1034510971) TIFF   PDF
10-24-2016 [ RCCT ]
    RECORD TO COURT
10-24-2016 [ CSTC ]
    CAUSE SUBMITTED TO COURT
03-06-2017 [ ORDR ]
    JE; ORDER; LUMPKIN PJ; ORDER DIRECTING RESPONSE: THE STATE OF OKLAHOMA IS TO FILE A
    RESPONSE IN 30 DAYS.
    Document Available (#1035751405) TIFF PDF
04-03-2017 [ TEXT ]
    APLEES REQUEST FOR ENLARGEMENT OF TIME
    Document Available (#1035752338) TIFF PDF
04-12-2017 [ XAEAB ]
    JE; ORDER; LUMPKIN PJ; COPIES TO ATTORNEYS, ORDER GRANTING APPELLEE FIRST EXTENSION OF
    TIME TO FILE BRIEF 05/05/2017
    Document Available (#1035753579) TIFF PDF
05-05-2017 [ AEAB ]
    BRIEF OF RESPONDENT
    Document Unavailable (#1036605309)
09-14-2017 [ OPIN ]
    JE; SUMMARY OPINION DENYING CERTIORARI~~~~~ PETITION FOR WRIT OF CERTIORARI DENIED,
    JUDGMENT AND SENTENCE AFFIRMED ~~~~~ HUDSON J, SPECIALLY CONCUR LUMPKIN PJ, CONCUR
    LEWIS VPJ; COPIES TO AG, HON. DOUGLAS HAUGHT, DIST COURT CLERK, ALICIA SORELLE, OIDS, RICHARD
    YOHN, DA SAYRE, PRESS, OPD, TPD, NOT FOR PUB
    Document Available (#1037803974) TIFF PDF
09-14-2017 [ 1007 ]
    AFFIRMED (SUMMARY OPINION)
09-14-2017 [ MAND ]
    MANDATE ISSUED
    Document Available (#1037803970) TIFF   PDF
09-19-2017 [ RTCC ]
    RETURN OF COURT CLERK
    Document Available (#1037804081) TIFF   PDF
09-19-2017 [ RCMD ]
    RECEIPT FOR MANDATE
    Document Available (#1037804061) TIFF   PDF
11-13-2017 [ TEXT ] Case 5:23-cv-00913-J Document 14-13 Filed 12/29/23 Page 5 of 5
    RECORD RETURNED FROM COURT
12-12-2017 [ RRCD ]
    RECORD RETURNED TO DISTRICT COURT
